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                                         September 1, 2022
VIA ECF
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

        Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP
                 Request To File Under Seal

Dear Judge Preska:
        I write on behalf of Plaintiff Virginia Giuffre. Pursuant to Rule 1.A of Your Honor’s
Individual Practices, Plaintiff respectfully requests leave to file under seal a letter and an
accompanying exhibit concerning Defendant’s upcoming deposition. In support of this request,
Plaintiff states that her letter will describe, and the exhibit will contain, material that has been
designated as confidential in Defendant’s deposition in Boies v. Dershowitz, No. 160874/2019
(N.Y. Cnty. Sup. Ct.), pursuant to Your Honor’s protective order in this case. Plaintiff will file
sealed versions of the letter and exhibit, until such time as Your Honor rules on this request, after
which Plaintiff will be prepared to file unredacted versions if directed by the Court.
                                                          Respectfully,

                                                          /s/ Nicole J. Moss
                                                          Nicole J. Moss

CC: Counsel of Record (via ECF)
